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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

 

UNITED STATES OF AMERICA, INDICTMENT

Plaintiff,

)
)
v. ) casenods 7? CR 493
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Title 18, Sections 922(g)(1),

JESSE GULLEY, 924(a)(2), 922(0) and 2; Title 26,
IKASHA CLARK, Section 5861(d), United States
THOMAS LORENZ, Code
Defendants.
COUNT 1
The Grand Jury charges:

On or about July 25, 2017, in the Northern District of Ohio, Eastern Division, the
defendants, JESSE GULLEY and IKASHA CLARK, did knowingly possess a machinegun,
specifically, a Heckler and Koch, 308 caliber rifle, model HK 91, bearing serial number
A033403, in violation of Title 18, United States Code, Sections 922(0), 924(a)(2) and 2.

COUNT 2
The Grand Jury further charges:
On or about July 24, 2017, in the Northern District of Ohio, Eastern Division, the

defendant, THOMAS LORENZ, did knowingly transfer a machinegun, specifically, a Heckler
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and Koch, 308 caliber rifle, model HK 91, bearing serial number A033403, in violation of Title
18, United States Code, Section 922(0) and 924(a)(2).
COUNT 3

On or about July 25, 2017, in the Northern District of Ohio, Eastern Division, the
Defendant, JESSE GULLEY, having been previously convicted of crimes punishable by
imprisonment for a term exceeding one year, those being: Felonious Assault, in case number
1996CR1217, in the Court of Common Pleas, Stark County, Ohio, on or about April 7, 1997 and
Possession of Cocaine, in case number 2005CRO0745, in the Court of Common Pleas, Stark
County, Ohio, on or about March 9, 2006, did knowingly possess in and affecting interstate and
foreign commerce, firearms, including: a Smith and Wesson 40 caliber pistol, model M&P 40,
bearing serial #HAR0590; a Desert Eagle, 50 caliber pistol, bearing serial #45201174; a Heckler
and Koch, 308 caliber rifle, model HK91, bearing serial #A033403; a Harrington and
Richardson, 12 gauge shotgun, model Topper 158, bearing serial #AH219938; a Walther 380
caliber pistol, model PK380, bearing serial #WBO91580; a Keltec, 9mm pistol, model P11,
bearing serial #AA8R72 and a Keltec 556 caliber pistol, model PLR16, bearing serial #PAS02,
and ammunition, said firearms and ammunition having previously been shipped and transported
in interstate and foreign commerce, in violation of Title 18, United States.Code, Sections
922(g)(1) and 924(a)(2).

COUNT 4

On or about July 25, 2017, in the Northern District of Ohio, Eastern Division, the
Defendants, JESSE GULLEY and IKASHA CLARK, did knowingly possess firearms,
specifically, a Harrington and Richardson, 12 gauge shotgun, model Topper 158, bearing serial

#AH219938, which is a shotgun having a barrel less than 18 inches in length and a Heckler and
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Koch, 308 caliber rifle, model HK91, bearing serial #4033403, which is a machinegun, both
firearms not being registered to JESSE GULLEY or IKASHA CLARK in the National Firearms
Registration and Transfer Record, in violation of Title 26, United States Code, Section 5861(d)
and Title 18, United States Code, Section 2.
FORFEITURE

The Grand Jury further charges:

For the purpose of alleging forfeiture pursuant to 18 U.S.C. § 924(d)(1), 26 U.S.C. §
5872, and 28 U.S.C. § 2461(c), the allegations of Counts 1 through 4, inclusive, are incorporated
herein by reference. As a result of the foregoing offenses, JESSE GULLEY, IKASHA CLARK,
and THOMAS LORENZ, the defendants herein, shall forfeit to the United States all property
(including firearms and ammunition) involved in or used in the commission of such violation;
including, but not limited to, the following:

a. Heckler and Koch, 308 caliber rifle, model HK 91, bearing serial number
A033403;

b. Smith and Wesson 40 caliber pistol, model M&P 40, bearing serial HHARO590;
C. Desert Eagle, 50 caliber pistol, bearing serial #45201174;

d. Harrington and Richardson, 12 gauge shotgun, model Topper 158, bearing serial
#AH219938;

e. Walther 380 caliber pistol, model PK380, bearing serial number WBO91580;
f. Keltec, 9mm pistol, model P11, bearing serial FAA8R72;

g. Keltec 556 caliber pistol, model PLR16, bearing serial #PASO2;

h. The following miscellaneous ammunition:
i. 20 rounds of PSD 10 .223 caliber ammunition;
il. 6 rounds of AE .50 caliber ammunition;
lil. 4 rounds of FC 9mm Luger ammunition;
iv. 19 rounds of Winchester 12 gauge ammunition;
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Vi. 10 rounds of Remington 12 gauge ammunition;

Vil. 13 rounds of Federal .40 caliber Smith and Wesson ammunition;
viii, 50 rounds of Winchester .308 caliber ammunition;

1X. 19 rounds of Federal .40 caliber Smith and Wesson ammunition;
Xx. 50 rounds of Winchester 9mm Luger ammunition;

Xi. 44 rounds of Armscor 357 Magnum ammunition;

xii. 14 rounds of Winchester 9mm Luger ammunition;

xiii. 29 rounds of PMC .223 caliber Remington ammunition;

xiv. 20 round of PMC X-Tac 5.56 Nato ammunition;

XV, 8 rounds of Federal .40 caliber Smith and Wesson ammunition;
xvii. 20 rounds of PMC .380 Auto ammunition;

xviii. 20 rounds of 357 Magnum ammunition;

xix. 15 rounds of Winchester 9mm Luger ammunition;

XX. 7 rounds of Blazer .45 Automatic ammunition;

xxi. 14 rounds of Hornady .40 Smith and Wesson ammunition;
xxl. 14 rounds of AE .50 caliber ammunition;

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government
Act of 2002.
